
*DANIEL, J.,
delivered the opinion of the court. *351The court is of the opinion that the testimony in the cause is too vague and indefinite to establish the fact that George Yates, the testator of the appellee, served to the end of the war, and therefore that the claim for pay, so far as it rested on such pretensions, was properly rejected by the auditor. The court is also further of opinion that this effort to vindicate the claim on the score of the said Yates being a supernumerary, is met by the decisions of this court in the cases of Tatam’s ex’or v. The Commonwealth, 9 Leigh 56; Slaughter’s adm’r v. The Commonwealth, 2 Gratt. 391; and The Commonwealth v. Peyton’s adm’r, Id. 393.
The court is therefore of opinion that the order and judgment of the Circuit court of the 18th of June 1849 is erroneous, and ought to be reversed, and that the decision of the auditor rejecting the claim should be affirmed.
Judgment reversed.
